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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA           :
                                   :    Honorable Joseph H. Rodriguez
             v.                    :
                                   :    Criminal No. 21-524 (JHR)
JOHN GRIER, III                    :




                  WRITTEN JUROR QUESTIONNAIRE
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                                                                                  Juror No. _______


                                 JURY QUESTIONNAIRE

                  United States v. John Grier, III – Criminal No. 21-524 (JHR)

Instructions:

You are being considered for jury service in a criminal case involving charges against defendant
John Grier. The indictment in this matter (“the Indictment”) charges the Defendant, John Grier,
with the following offenses:

       •   deprivation of rights under color of law
       •   falsification of records in a federal investigation

The Government alleges that John Grier, III committed the criminal offenses listed above by using
mechanical force (Oleoresin Capsicum (“OC”) spray, also referred to as “mace” or “pepper spray”)
on a victim who was in handcuffs and under the control of another police officer without cause,
and assaulting the victim by shoving him in the chest. The Government also alleges that John Grier
authored and submitted a fraudulent Bridgeton Police Department Supplemental Police Report to
falsely justify the use of force against the victim and obstruct any investigation into the incident.

It is important to remember that the Defendant has denied these charges and pleaded not guilty.
The Defendant, like all defendants in this country, is presumed to be innocent of all charges made
against him unless and until the Government proves his guilt beyond a reasonable doubt.
Furthermore, it is the law of this country that no defendant needs to testify at trial.

The Court has decided to submit certain questions to you in the form of a questionnaire, rather
than asking you these questions in open court. The questions are designed only to aid the Court
and the lawyers in selecting a fair and impartial jury and not to pry unnecessarily into your personal
life. Your answers must be true and complete and will be used only for purposes of selecting a
jury in this action.

Do not discuss the questions or answers to these questions with your fellow jurors—it is very
important that your answers be your own individual answers. Do not discuss this case with any of
your fellow jurors or with anyone else. That means that you should not talk about this case with
your friends, family, and co-workers; nor should you communicate about this case through social
media, such as Facebook, LinkedIn, Twitter, Snapchat, Tumblr, Instagram, or any other
communication source. Do not read anything about the case, watch anything on television about
the case, or listen to anything on the radio about the case should it be covered by any media. Do
not conduct any research about this case or the participants in this trial, including through the use
of the internet. What you learn about the case you will learn in Court only.


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                                                                               Juror No. _______


Where indicated, check the line for “Yes” or “No.” Provide answers, explanations, or details in
the spaces provided. If you need additional space to answer any of the question, use the last page
of the questionnaire, and state the question number. Do not write on the back of any page.

I. BACKGROUND

1. Name: __________________________________________________

2. Age: ________

3. Gender: ____________________

4. Place of birth: _________________________________

5. County of residence: ____________________________

6. Your town or neighborhood: _________________________________

7. Which of the following applies to your primary residence?

        Own               Rent              Live in parents’/family home           Other

8. Prior to your current residence, where did you live: _________________________________

9. What is your current employment status?

        Working full-time

        Working part-time

        Unemployed

        Homemaker

        Retired

        Disabled

        Student

10. If employed, what is your primary occupation or employment? ________________________

   ___________________________________________________________________________

11. What is the name of your employer? _____________________________________________


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                                                                           Juror No. _______


12. How long have you worked for that employer or been in that occupation? _______________

13. What are your job responsibilities? ______________________________________________

14. Please list any other jobs you have held in the past 10 years: __________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

15. Please indicate your level of education (check all that apply)

    Did not graduate from high school (highest grade completed: ________ )

    High school diploma or GED

    Vocational or trade school

    Some college classes

    Two-year (Associate) degree

    College graduate (Bachelor degree)

    Some graduate school

    Graduate degree

16. If you attended school beyond high school (college, graduate school, technical education),

   what school did you attend and what did you study? ________________________________

   __________________________________________________________________________

17. Have you ever served in the military? _____ YES _____ NO

   If YES:

       a. When? ______________________________________________________________

       b. In what branch did you serve? _____________________________________________

       c. What was your rank? ___________________________________________________

       d. Were you honorably discharged? _____ YES _____ NO



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18. Are you married, living with a partner, or in a relationship? _____ YES    _____ NO

   If YES, please answer:

       a. What is their name? _______________________

       b. What is his/her primary occupation or employment? __________________________

       c. What is the name of his/her employer? _____________________________________

       d. How long has he/she worked for that employer or been in that occupation? ________

           ____________________________________________________________________

       e. What are his/her job responsibilities? ______________________________________

           _____________________________________________________________________

19. Do you have any children? _____ YES      _____ NO

   If YES, please provide the number of children you have, their ages, schools, and/or

   employers: _________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

20. Are you now, or have you recently been, under a doctor’s care for mental, emotional, or

   substance abuse problems? ______ YES        ______ NO

   If YES, please explain:________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

21. Are you now taking, or do you anticipate taking, any medication that might in any way affect

   your attention or your ability to concentrate, understand, consider, and weigh the evidence in

   this case? _____ YES     _____ NO

   If YES, please explain: _______________________________________________________



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   ___________________________________________________________________________

   ___________________________________________________________________________

22. Do you have any difficulty with your sight or hearing that could affect your perception of the

   proceedings? _____ YES        _____ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

23. Do you have any religious, philosophical, or other beliefs that would make you unable to render

   a verdict for reasons unrelated to the law or evidence? _____ YES       _____ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

24. It is expected that this trial will require approximately 1-2 weeks to complete, although one

   can never be precise as to how long a trial will take. The Court recognizes that jury service for

   this period of time places a burden on those called to serve as jurors. Nonetheless, the right to

   a jury trial is an important constitutional right that does require the Court to call upon citizens

   such as yourselves to make personal sacrifice. Bearing in mind the importance of a trial by

   jury, do any of you have any reason why you feel that jury service for this period of time would

   pose a particularly severe burden requiring that you be excused from consideration as a juror?

   If YES, please explain: _______________________________________________________

   __________________________________________________________________________________

   __________________________________________________________________________________




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25. Please list any civic, social, religious, political, or professional organizations, clubs, or

   associations to which you belong or volunteer your time: ______________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

26. What are your hobbies or interests outside of work and family? ______________________

   ___________________________________________________________________________

   ___________________________________________________________________________

27. Please provide the names of any newspapers, magazine, online news services, websites, or

   other publications that you read regularly: ________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

28. Please provide the names of any radio, television, or internet programs, including podcasts,

   that you listen to or view regularly: ______________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

29. Do you regularly watch, listen to, or read legal dramas/thrillers? _____ YES     _____ NO

General Background

30. An indictment is a document that charges an individual with a crime after having been

   considered by a federal grand jury. An indictment is the means by which the Government

   gives him notice of the charges against him and brings him before the Court. An indictment

   is an accusation, and nothing more. An indictment is not evidence and the jury may give it no

   weight in arriving at its verdict. Will you accept and apply this rule of law?

   _____ YES _____ NO



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   If NO, please explain: ________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

31. The indictment in this matter (“the Indictment”) charges the Defendant, John Grier, with

   violating an individual’s Constitutional Rights and falsifying records in a federal investigation

   as a police officer with the City of Bridgeton Police Department. Do you have any reason to

   believe that the charges in this case that I have just described to you will affect your ability to

   fairly and impartially evaluate the evidence and apply the law?

   _____ YES _____ NO

   If YES, please explain:________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

Presumption of Innocence and Impartiality

32. The Defendant is presumed innocent. He cannot be convicted unless the jury, unanimously

   and based solely on the evidence in this case and the law as the Court instructs, decides his

   guilt has been proven beyond a reasonable doubt. The burden of proving the guilt rests entirely

   with the Government. The Defendant has no burden of proof at all. Will you accept and apply

   this rule of law? _____ YES _____ NO

   If NO, please explain:_________________________________________________________

   __________________________________________________________________________________

   __________________________________________________________________________________

33. Can you accept that the Defendant is at this moment presumed to be innocent of any and all

   crimes charged in the Indictment and that he is presumed to be innocent of these charges

   throughout the course of the trial? _____ YES _____ NO
                                                     7
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   If NO, please explain: ________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

34. Under the law, a defendant need not testify or offer any evidence on his or her behalf. If a

   defendant does neither, the jury is not permitted to consider that fact in any way in reaching a

   decision as to whether a defendant is guilty or not guilty. Will you accept and apply this rule

   of law? _____ YES _____ NO

   If NO, please explain: ________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

35. Do you understand that although each side may put forth evidence that they believe supports

   why something happened; the Government retains the burden of proving the Defendant guilty

   beyond a reasonable doubt, it is for the jury to determine if a criminal offense happened and

   not why it happened? _____ YES _____ NO

   If NO, please explain:_________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

36. If you are selected to sit as a juror on this case, would you be willing and able to render a

   verdict based solely on the facts, exhibits, and documents in evidence, and the law as the Court

   will give it to you in its instructions, disregarding any other ideas, notions, or beliefs about the

   law that you previously may have encountered? _____ YES _____ NO

   If NO, please explain: ________________________________________________________

   __________________________________________________________________________________

   __________________________________________________________________________________

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                                                                              Juror No. _______


37. The law does not permit you to consider any emotions such as sympathy, prejudice,

   vengeance, fear, or hostility in reaching your verdict. Can you put these emotions out of your

   mind when you listen to the evidence in this case and while you are deliberating toward

   reaching a verdict? _____ YES _____ NO

   If NO, please explain: ________________________________________________________

   __________________________________________________________________________________

   __________________________________________________________________________________

38. The law does not permit you to consider the issue of sentencing or punishment in reaching

   your verdict. Do you feel that you would be able to deliberate as a juror on the Defendant’s

   guilt or non-guilt without knowing what punishment he might receive if he was found guilty?

   _____ YES _____ NO

   If NO, please explain: ________________________________________________________

   __________________________________________________________________________________

   __________________________________________________________________________________

39. Can you render a verdict, whether guilty or not, without considering the question of

   punishment? _____ YES _____ NO

   If NO, please explain: ________________________________________________________

   __________________________________________________________________________________

   __________________________________________________________________________________

40. Do you have any beliefs or life experiences that would prevent you from sitting in judgment

   of another? _____ YES _____ NO

   If YES, please explain: _______________________________________________________

   __________________________________________________________________________________

   __________________________________________________________________________________

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                                                                             Juror No. _______


41. Do you believe that the fact that someone has been arrested means that the person must be

   guilty? _____ YES _____ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

42. Would you believe or disbelieve the testimony of a defendant, simply because he has been

   accused of a crime? _____ YES _____ NO

   If YES, please explain:________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

II. PRIOR EXPERIENCE WITH LEGAL SYSTEM AND LAW ENFORCEMENT

43. Have you ever served on a trial jury or a grand jury? _____ YES _____ NO

       a. If YES, please give details of which court: __________________________________

          _____________________________________________________________________

          _____________________________________________________________________

       b. If YES, what type of case? _______________________________________________

          _____________________________________________________________________

          _____________________________________________________________________

       c. If YES, did the jury deliberate to a final verdict? ___ YES ___ NO

44. Have you ever had your home, office, or any other premises be the subject of a search and

   seizure by any federal, state, or local agency or law enforcement department?

   ___ YES ___ NO

   If YES, please explain: _______________________________________________________


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   ___________________________________________________________________________

   ___________________________________________________________________________

45. Have you, any member of your family, close relatives, or friends ever been subjected to service

   of a grand jury subpoena by any federal, state, or local agency or law enforcement department

   whatsoever? ___ YES ___ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

46. Have you ever provided information to, been a cooperating informant or witness for, or

   provided testimony for any federal, state, or local agency or law enforcement department?

   ___ YES ___ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

47. Have you ever contacted the United States Attorney=s Office, County Prosecutor=s Office, the

   police department, or any court, local, county, state or federal law enforcement agency to report

   a crime? ___ YES ___ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

48. Have you, any member of your family, or any close friend ever been the subject of an

   investigation by any agency of the United States government, or any state, county, or local

   government? ___ YES ___ NO



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   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

49. Have you, any member of your family, or any close friend been arrested or convicted of a

   crime or offense?___ YES ___ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

50. Have you, any member of your family, or any close friend ever been a defendant in a suit

   brought by the federal government or any state, county, or local government?

   ___ YES ___ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

51. Have you, anyone in your family, or any close friend ever been the victim of a crime or

   participated in a criminal case (other than a traffic violation) as a victim, a defendant, or a

   witness where the case went to court? ___ YES ___ NO

       a.      If YES, do you believe that the case was handled appropriately?

               _____ YES _____ NO


            If NO, please explain: __________________________________________________

            _____________________________________________________________________

            _____________________________________________________________________




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       b.      Was there anything about that experience that would affect your ability to fairly

               and impartially evaluate the evidence in this case?

               _____ YES _____ NO


            If YES, please explain: __________________________________________________

            _____________________________________________________________________

            _____________________________________________________________________

52. Do you have any opinions or beliefs concerning the criminal justice system, defendants, or

   criminal defense attorneys that would affect your ability to evaluate the evidence in this case

   fairly and impartially? ___ YES ___ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

53. Do you have any opinions or beliefs concerning the police, law enforcement officers or

   prosecutors that would affect your ability to evaluate the evidence in this case fairly and

   impartially? ___ YES ___ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

54. Are you or have you ever been an officer or employee of the United States government or any

   state, county, or local government? _____ YES _____ NO

       a. If YES, would the fact that the United States government is a party to this action in any

            way influence your judgment in regard to this case?

            _____ YES _____ NO

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           If YES, please explain: __________________________________________________

           _____________________________________________________________________

           _____________________________________________________________________

55. Have you, a family member, or a close friend ever studied or practiced law or worked in a law

   office? ___ YES    ___ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

56. You may hear testimony in this case from law enforcement officers, such as federal agents and

   current and former police officers. Would you give the testimony of a law enforcement officer

   or official greater or lesser weight simply because of that person’s position?

   _____ YES _____ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

57. The Defendant and other potential witnesses were law enforcement officers at the time of the

   acts alleged in the Indictment.

       a. Have you, any member of your family, or any close friend ever been employed by a

           law enforcement agency? ___ YES       ___ NO

           If YES, please explain: _________________________________________________

           _____________________________________________________________________

           _____________________________________________________________________




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                                                                                Juror No. _______


       b. Would your experience (or that of a relative or friend) cause you to sympathize with

           the Defendant or potential witnesses? ___ YES      ___ NO

           If YES, please explain: _________________________________________________

           _____________________________________________________________________

           _____________________________________________________________________


       c. Would your experience (or that of a relative or friend) cause you to have bias against

           the Defendant or potential witnesses in this case because the Defendant and some of

           the potential witnesses were members of law enforcement? ___ YES         ___ NO

           If YES, please explain: _________________________________________________

           _____________________________________________________________________

           _____________________________________________________________________

58. The Defendant was a police officer at the time of the acts alleged in the Indictment. Do you

   have positive or negative feelings that would make it difficult for you to evaluate such a police

   officer’s testimony fairly and impartially? ___ YES     ___ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

59. In this case, you may hear testimony from current or former law enforcement officers from the

   City of Bridgeton Police Department and the FBI.

       a. Have you ever had any personal experiences with these agencies, or with any other law

           enforcement agency? ___ YES       ___ NO

           If YES, please explain the nature and extent of your personal experiences with that

           agency: ______________________________________________________________

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                                                                                Juror No. _______


          _____________________________________________________________________

          ____________________________________________________________________

       b. Do you think that your experience with that agency will affect the way you view the

          evidence in this case? ___ YES     ___ NO

          If YES, please explain the nature and extent of your personal experiences with that

          agency: ______________________________________________________________

          _____________________________________________________________________

          ____________________________________________________________________

60. Have you, a family member, or a close friend ever had any negative experiences involving

   police officers or been the subject of any adverse action taken by police officers?

   ____ YES ____ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

61. Have your feelings or opinions about police officers changed in any way in light of recent

   events reported in the media involving police officers? ____ YES ____ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

62. Are you, any member of your family, or any close friend affiliated, connected with, or a

   member of any crime commission or organization engaged in similar work or organizations

   that support or provide services for law enforcement agencies or officers?

   ____ YES ____ NO



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   If YES, please explain: _______________________________________________________

   __________________________________________________________________________

   __________________________________________________________________________

63. Are you or is any member of your family or any close friend affiliated, connected with, or a

   member of any organizations that advocate police reform? ____ YES ____ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

64. Have you, or has any family member or close friend, been a member of any group that lobbies

   or takes public positions on law enforcement issues? ____ YES ____ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

65. Would the fact that the federal government is a party to this action in any way influence your

   judgment in regard to this case? ____ YES ____ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

66. Have you, anyone in your family, or any close friend ever had any interaction or experience

   with the federal government or with state or local law enforcement officials that might affect

   your ability to be fair and impartial in this case? ____ YES ____ NO

   If YES, please explain: _______________________________________________________




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   ___________________________________________________________________________

   ___________________________________________________________________________

III. CASE BACKGROUND AND UNDERLYING CHARGES

67. Do you know, or have you had any dealings, personal or business, with John Grier, or with

   any relative or close friend of John Grier?

   ____ YES ____ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

68. Defendant John Grier is represented by attorney Stuart Alterman of the law firm of Alterman

   & Associates, LLC and attorney Stacy Ann Biancamano of the law firm of Biancamano Law,

   LLC. The Government is represented by the United States Attorney for the United States

   Attorney’s Office for the District of New Jersey, who is Philip R. Sellinger. The conduct of

   the trial will be in the immediate charge of Assistant United States Attorneys Jason Richardson

   and Lindsey Harties. Also, at the Government’s table or seated behind them during the trial

   will be their paralegal, Anne Defay and Shaunda McQueen, and Special Agent Brittney Ketler

   of the FBI.

       a. Do you know or have you had any dealings, personal or business, with any of these

          individuals? ____ YES ____ NO

       b. Have you or any relative or close friend ever been employed by or had dealings with

          any of the parties, entities, or individuals listed above? _____ YES _____ NO

       If YES to either of the above questions, please explain: ___________________________




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       ________________________________________________________________________

       ________________________________________________________________________

69. Have you, a family member, or a close friend had any experience with the following

   governmental entities, agencies, or law firms?

        United States Federal Government

        United States Department of Justice

        United States Attorney’s Office

        Federal Bureau of Investigation (“FBI”)

        Alterman & Associates, LLC

        Biancamano Law, LLC

   If YES, please explain: _______________________________________________________

   __________________________________________________________________________

   ___________________________________________________________________________

70. The following individuals or entities may be called as witnesses at trial or their names may

   come up during the trial. Please identify any name if you know, or if you have had any

   dealings, personal or business, with that person or entity.

    Michael Elton

    Brittney Ketler

    Anthony Bertolini

    Ronald Broomall

    Heittel Mora

    Rich Morris

    Donald Young



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    Jason Hovermann

    Paul Genovese

    Thomas Speranza

    Richard Zanni

    Michael Gaimari

    Lisa Ford

    Alan Campbell

    Marty Drummond

    Emmanuel Kapelsohn

If you identified any names, please explain your knowledge of or dealings with that person(s)

or entity(ies): _________________________________________________________________

______________________________________________________________________________

______________________________________________________________________________

______________________________________________________________________________

71. This case involves alleged events occurring in and around the city of Bridgeton, New Jersey.

   Have you ever lived or worked in Bridgeton? ___ YES        ___ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

72. This case involves allegations that the Defendant authored and submitted a false police report

   in an attempt to cover up an instance of excessive force. Do you have such strong views on

   the subject of excessive force or police conduct that you could not render a fair verdict in this

   case? ___ YES     ___ NO



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   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

73. Do you have such strong views on the subject of honesty that you could not render a fair verdict

   in this case? ___ YES    ___ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

74. Are you familiar with any newspaper, television, radio, Internet or other forms of news

   coverage regarding this case? ___ YES       ___ NO

   If YES, please explain:________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

IV. CIVIL RIGHTS

75. In recent months, you may have seen or heard media accounts concerning the federal

   government’s involvement in state or local civil rights cases. Do you have any strong feelings

   or opinions about the federal government’s involvement in state or local civil right cases?

   ___ YES     ___ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

76. Do you feel that the federal government goes too far in protecting civil rights?

   ___ YES     ___ NO



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                                                                               Juror No. _______


   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

77. Do you feel that the federal government does not go far enough in protecting civil rights?

   ___ YES     ___ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

78. If the Government fails to prove its case against the Defendant beyond a reasonable doubt,

   would you have any difficulty returning a not guilty verdict because the Defendant allegedly

   violated the Victim’s civil rights? ___ YES    ___ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

V. EXCESSIVE FORCE

79. This case also involves allegations of violence, specifically, a physical assault where the

   Defendant, a police officer, allegedly sprayed the Victim with pepper spray several times and

   physically assaulted the Victim by shoving him in the chest while the Victim was handcuffed.

       a. Will the fact that this case involves violence impact on your ability to fairly and

           impartially judge the facts in this case? ___ YES   ___ NO


       If YES, please explain: ____________________________________________________

       ________________________________________________________________________




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       b. Have you, any member of your family, or any close friend ever been a victim of a

           violent crime? ___ YES     ___ NO

               i. If YES, has your experience, or the experience of your family member or close

                  friend, of being a victim of a violent crime caused you to have a particular

                  opinion about people charged with committing violent crimes?

                   ___ YES     ___ NO

                  If YES, please explain: ___________________________________________

                  _______________________________________________________________

                  _______________________________________________________________

              ii. If YES, will you be able to fairly and impartially judge the facts in this case in

                  spite of your experience, or the experience of your family member or close

                  friend, as a victim of a violent crime? ___ YES    ___ NO

                  If NO, please explain: ___________________________________________

                  _______________________________________________________________

                  _______________________________________________________________

80. Have you or has a close family member or close friend ever been the victim of excessive force

   or police brutality? ___ YES    ___ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

81. Have you had any encounters with law enforcement officers that left you with a strong positive

   or negative opinion of law enforcement? ___ YES       ___ NO




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   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

82. Do you think that law enforcement officers do such a difficult job that it is unfair for their

   actions to be judged? ___ YES     ___ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

83. Are there any circumstances that would justify a police officer using excessive force?

    ___ YES     ___ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

84. Do you believe that there are circumstances under which police officers do not have to obey

   the law like everyone else? ___ YES     ___ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

85. Would you have any reluctance to judge the actions of a police officer accused of using

   excessive force or obstructing justice? ___ YES       ___ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________



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86. Do you understand that even if a person has been arrested, that they still have certain

   rights―including the right to not have law enforcement officers use excessive physical force

   against them? ___ YES      ___ NO

       a. If YES, do you have strong feelings about that? ___ YES       ___ NO

           If YES, please explain: _________________________________________________

           _____________________________________________________________________

           _____________________________________________________________________

87. You will hear evidence that the Victim was under the influence of alcohol at the time that the

   Defendant sprayed him with mace. Would the knowledge of this fact impact your ability to be

   a fair and impartial judge of the facts in this case? ___ YES   ___ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

88. Do you have any strong feeling about individuals that drive a vehicle while under the influence

   of alcohol that would effect your ability to be a fair and impartial judge of the facts in this

   case? ___ YES     ___ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

89. Do you think law enforcement officers should be allowed to use force against an individual

   simply because they operated a motor vehicle under the influence of alcohol? ___ YES __ NO




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   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

90. Do you understand that even if a person is intoxicated and not threatening, that they still have

   certain rights―including the right to not have law enforcement officers use excessive physical

   force against them? ___ YES      ___ NO

       a. If YES, do you have strong feelings about that? ___ YES        ___ NO

           If YES, please explain: _________________________________________________

           _____________________________________________________________________

           _____________________________________________________________________

91. Do you think that law enforcement officers should be allowed to use force against a person

   who either is not a threat or is no longer posing a threat? ___ YES    ___ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

92. If the Government proves its case against the Defendant beyond a reasonable doubt, would

   you have any difficulty returning a guilty verdict because the Defendant was a law enforcement

   officer at the time of the offense? ___ YES    ___ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________




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VI. PERSONAL CIRCUMSTANCES

93. Would you tend to believe someone or not believe someone because of that person=s ethnic

   background, race, sex, religion, occupation, or economic status? ___ YES    ___ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

94. Do you feel any greater degree of sympathy with either side of this criminal case?

   ___ YES     ___ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

95. Is there any extraordinary personal or business situation, or other distinct hardship, which

   makes it impossible for you to sit on this jury? ___ YES   ___ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

96. Do you have any medical condition that would make it impossible for you to sit on this jury?

   ___ YES     ___ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

97. Do you have any difficulty reading, speaking, or understanding English?

   ___ YES     ___ NO



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   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

98. Do you think you may know or be familiar with this Defendant or his family or friends?

   ___ YES     ___ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

99. Can you think of any reason, even if we have not covered it in these questions, why you would

   not be able to render a fair and impartial verdict in this case?___ YES   ___ NO

   If YES, please explain: _______________________________________________________

   ___________________________________________________________________________

   __________________________________________________________________________




PLEASE MAKE CERTAIN THAT YOUR JUROR NUMBER IS PRINTED AT THE TOP OF
EACH PAGE AND PLEASE SIGN YOUR NAME BELOW:




____________________________________________________               __________________
SIGNATURE                                                          DATE




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                            EXPLANATION SHEET

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